        Case 1:16-cv-00878-JB-JHR Document 91 Filed 12/14/18 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW MEXICO

NEW MEXICO HEALTH                   )
CONNECTIONS,                        )
                                    )
        Plaintiff,                  )
                                    )
        v.                          )              No. 1:16-cv-00878 JB/JHR
                                    )
UNITED STATES DEPARTMENT OF         )
HEALTH AND HUMAN SERVICES,          )
et al.,                             )
                                    )
        Defendants.                 )
____________________________________)

                             DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all Defendants—United States Department of Health and

Human Services; Centers for Medicare and Medicaid Services; Alex M. Azar, II, Secretary of the

United States Department of Health and Human Services, in his official capacity; and Seema

Verma, Administrator for the Centers for Medicare and Medicaid Services, in her official

capacity1—hereby appeal to the United States Court of Appeals for the Tenth Circuit from (i) the

Memorandum Opinion and Order issued February 28, 2018, ECF No. 55, (ii) the Final Judgment

issued February 28, 2018, ECF No. 56, and (iii) the Memorandum Opinion and Order issued

October 19, 2018, ECF No. 90, and from all orders antecedent to such orders and judgment and

thus incorporated therein.

Dated: December 14, 2018                    Respectfully submitted,

                                            JOSEPH H. HUNT
                                            Assistant Attorney General

1
  Secretary Azar and Administrator Verma were automatically substituted as Defendants in this
litigation by operation of Fed. R. Civ. P. 25(d).
Case 1:16-cv-00878-JB-JHR Document 91 Filed 12/14/18 Page 2 of 3




                             DIANE KELLEHER
                             Assistant Branch Director

                             /s/ James Powers
                             JAMES R. POWERS (TX Bar No. 24092989)
                             SERENA M. ORLOFF
                             Trial Attorneys
                             U.S. Department of Justice,
                             Civil Division, Federal Programs Branch
                             1100 L Street, N.W.
                             Washington, D.C. 20005
                             Telephone: (202) 353-0543
                             james.r.powers@usdoj.gov

                             Counsel for Defendants




                                2
       Case 1:16-cv-00878-JB-JHR Document 91 Filed 12/14/18 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on December 14, 2018, I caused the foregoing document to be served
on counsel for plaintiff by filing with the court’s electronic case filing system.



                                                          /s/ James Powers
                                                          James R. Powers
